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             IN THE UNITED STA TES COURT FOR THE DISTRICT OF UTAH
                                                                                           FILED US Dis:tt-ict Court-UT
                                                                                             NOV 19 '2il AM08:55



UNITED STATES OF AMERICA                                  Case No. 1:23-cr-0006 HCN
         Plaintiff,
                 vs.
                                                          CONSENT TO ENTRY OF PLEA
                                                          OF GUILTY BEFORE THE
                                                          MAGISTRATE JUDGE AND
Tadashi Kojima                                            ORDER OF REFERENCE
         Defendant(s).




       Pursuant to 28 U.S.C. § 636(b)(3), the defendant, Tadashi Kojima, after consultation and

agreement with counsel, consents to United States Magistrate Judge Dustin Pead accepting

defendant's plea of guilty and to the Magistrate Judge conducting proceedings pursuant to Rule

11 of the Federal Rules of Criminal Procedure. The defendant also acknowledges and

understands that sentencing on his plea of guilty will be before the assigned District Judge after

a pre-sentence investigation and report, and compliance with Fed.R.Crim.P. 32.

       The United States, by and through the undersigned Assistant United States Attorney,

consents to the Magistrate Judge conducting plea proceedings pursuant to Fed.R.Crim.P. 11, and

accepting the defendant's plea of guilty as indicated above, pursuant to such proceedings.
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       DATED this     tg'j--l;ay of November, 2024.
    ~                 ..
Defendant




Assistant United States Attorney


                                   ORDER OF REFERENCE

      Pursuant to 28 U.S.C. § 636(b)(3), and the consent of the paiiies above mentioned,

including the defendant,

       IT IS HEREBY ORDERED that United States Magistrate Judge Dustin Pead shall hear

 and conduct plea rendering under Fed.R.Crim.P. 11, and may accept the plea of guilty from the

defendant pursuant thereto after full compliance with Fed.R.Crim.P. 11.

       Dated this 18th day of November, 2024.

                                            BY THE COURT:

                                              LJ G /L..!.Jl . ~
                                            Howard C. Nielson, Jr.
                                            United States District Judge
